UMMA eto m seme CU Lm sta

Debtor 1 JAMES THEISEN

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: District of New Jersey
Case number 19-30999

 

 

Official Form 410
Proof of Claim | o4i9

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled te privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. Hf the documents are not available,

explain in an attachment.
A person who files a fraudutent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.3.C. §§ 152, 157, and 3574.

Fill in afl the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Farm 309} that you received.

Part 4: identify the Claim

1. Who is the current OVATION SALES FINANCE TRUST

creditor?
Name of the current creditor (the person or entity to be paid for this claim)

 

Other names the creditor used with the debtor

 

 

2. Has this claim been A No

acquired from
someone else? OJ Yes. From whom?

 

 

 

 

 

 

3. Where should notices Where should notices to the creditor be sent? mat a ° _ = Where should payments to thé creditor. be sent? (if
and paymentstothe 9 9 8 ee different) 4. me ae pe |
creditor be sent? SERVICE FINANCE CO., LLC
Federal Rule of Name Name
Bankruptcy Procedure
(FRBP) 2002(q) 555 S FEDERAL HWY #200
Number Street Number Streel
BOCA RATON FL 33432
City State ZIP Code City State ZP Goda
Contact phone 866-254-0497 Contact phone
Contact email Contact email

Uniform claim identifier for electronic payments in chapter 13 {if you use one):

 

4, Does this claim amend wi No
one already filed? LU Yes, Claim number on court claims registry (if known) Filed on

 

? DE 1YYYY

 

'5. Do you know ifanyone {&f No

eise has filed a proof = @) Yes, Who made the earlier filing?
of claim for this claim?

 

Official Form 410 Proof of Claim page 1
 

ca Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number
you use to identify the
debtor?

C) No
4 Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: 3 6 5 5

 

7. How much is the claim?

$ 15587.49 | Does this amount include interest or other charges?
U3 No

fs} Yes, Attach statement itemizing interest, fees, expenses, or other
charges required by Bankruptcy Rule 3004(c)(2)(A).

 

8. What ts the basis of the
claim?

Examples: Goods sold, money loaned, tease, services performed, personal injury or wrongful death, or credit card.
Altach redacted copies of any documents supporting the claim required by Bankrupicy Rule 3001(c).

Limit disclosing information that is entitted to privacy, such as health care information.

MONEY LCANED

 

 

9. Is all or part of the claim
secured?

LJ No

Yes. The claim is secured by a lien on property.
Nature of property:
LJ Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim

Atlachment (Official Form 410-A) with this Proof of Claim.

C1) Motor vehicie
MY Other. Describe: HVAC/PLUMBING

Basis for perfection: RECORDED UCC LIEN

Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
been filed or recorded.)

 

Value of property: $ 15000.00
Amount of the claim thatis secured:  $ 15587.49
Amount of the claim that is unsecured: $ (The sum of the secured and unsecured

amounts should match the amount in line 7.)

 

 

 

 

 

 

Amount necessary to cure any default as of the date of the petition:  $ 8543.58
Annual interest Rate (when case was filed) 16.99 %
Fixed
CO Variable
10.is this claim basedona WZ No
lease?
Yes. Amount necessary to cure any defauit as of the date of the petition. $
11. is this claim subject to a wi No
right of setoff?
CE Yes. identify the property:
i
i
Official Form 410 Proof of Claim page 2
cache f
12. 1a all or part of the claim ano

oniified to priority under
44 U.S.C. § OTe? " CD Yes. Chock aif that apply: Avnount eniltled to priority
Aclaim may be partly ) Domestic support obligations {inchiding alimony and child support) under
priority and partly 41.8.6. § 507(a}(4)(A) oF (a}(1)(8).
nonprierity. For exarnpie,
in some categories, lie (3 Up to $2,778! of deposits toward purchase, laase, or rental of property or services far
law limits the amount personal, family, or housetiold use. 11 U.S.C. § 507 (ai(7), Fee trae
entiled to priosty,
(J Wages, salaries, or commissions {up to $12,475") earned within 180 days before the
bankruptcy petition is fllad or the debtor's business ands, whichever !s aariler, Peter
17 U.S.C, § 507(a)(4}.
[2 Taxes or penalilas owed to governmental units. 14 U.S.C. § 507(aX8), : $
 cuntributisns an employee benefit plan. 11 U.S.C. § 507{a}{5). Bo
8 other. Spacify subsection of 41 U.S.C. § 507(a){_) that appilas. $

* Amounts ate subject to adjustment on 4/01/16 and every 3 yeers after thal for cases bogua on or after the date of adjustment.

 

 

Sign Below

 

The person completing Chack the appropriate box:
thls preof of claim must
sign and date it

FREP 901 4(b).

If you fife this clalm

plectronically, FRBP

5008{a}{2} authorizes courts

te aslablish jocal rules

i. acifying what a signature J understand that an authorized signature on this Prof of Claim setves aa an ackhowladgment tha! whan caleufating the
" amount of lhe claim, the creditor gave the debtor credit tor any paytnents recelved toward the debt.

A porsan who files a .

Fraudulent olaim could be = -j haya examined tha information in thie Proof of Gialm and have a reasonable belief ne

Tar the éreditor,

tare ihe creditor's altormey or authorized agent.

[an the trustee, or the debtor, or thelr authorized agant, Bankruptcy Rule 3004,
Lam guarantor, surely, endorser, o¢ other codabtor, Bankruptcy Rule 3008,

CoOao

    
  
  

riad up to $500,000, and correct,

imprisoned for up to &
you os or Ae 12, 487, and | dectare under penally of perlury that the foregoing is true and correct, .
3671, Srvice Hanes itornen un Rares

 

ty
(fa|3eh4
lan’ Berl, Cg

Print the hame of te porgen who te coptplating and signing this claim:

   
 

AN BERCH

First name Middle name Last name
coo

Name

 

 

 

 

 

Ti
Conpary —='«=«SERWOE FINANCE GO, LLC
Hentify the comotate sanvicer as the company If the autnarized agent ls a Garvicer.
fuiroas 555 § FEDERAL HWY #200
Number Street
BOCA RATON FL 33432
Gily Stale ZIP Code
Contact phone 866-254-0497 Emait

 

 

Official Fores 410 Proof of Claim pags 3

 

 
“jo 5 ebed JUSLUYSERPY WIELD Jo JOolg abebLow VOLP LUO JERWO

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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“SUOHINASU! s}eredas dag “UUJE{D JO yooud INOA 03 JUSUILjSEye Ue Se WO! SI BSN JSNW NOA ‘souapises jediouLd S,10}qQop sy Ul }SaI9,UE AjNZ|S e Aq painsas wiels B apy nod y

(SLizb) JUSWIYSe}Y Wle]D jo jooig aAebyoyw
Verified Original

Home Improvement Retail Instaliment Contract

 

Seller Name and Address Buyers} Name(s) end Address(es} Summary

Horizon Services Inc JAMES E THEISEN No. GABC55
320 CENTURY BLVD ‘903 NORTHWOOD AVE Date O7/29/16
WILMINGTON, DE 19808-6270 CHERRY HILL, NJ 08002

"We" and "us" mean the Seller above, its successors and = "Yeu" and “your” mean each Buyer signing below, jointly and
assigns.

individually,

     
     

   
   

     

Totai Sale Price

The total cost of your purchase an
credit, including your dawn

   
  
   

Total of Payments

The amount you will have paid
when you have made aft

Amount Financed

The amount of credit provided to
you or on your behalf.

ANNUAL
PERCENTAGE RATE §§ the dollar amount the credit will .

   

   
 

   
     

 

The cost of your credit as a yearly cost you. scheduled payments. payment of
fale. $ 5000.00
16.990 % #8 ¢ 6013.52 Bs 10000.00 § 16013.52 F 3 2101352
Payment Schedule. Your payment schedule wit be
Number of Amount of Payments When Payments Are Due
Payments
¥2 $ 222.44 Monthly, beginning 30 days after the contract is assigned to a financial institution
$
3

Security, You are giving us a security interest in

[x] the Goods purchased.
td] ihe folowing described personal oraperty

Prepaymant. ff you pay off this Contact early, you | may will not have lo pay a penalty.
Contract Provisions. You can see the terms of this Contract for any additional information abaut nonpayment, default, any required repayment before ike scheduled date, and
prepayment refunds and penalties.

 

"eo" means estimate

 

 

RF cme eta ars
Sale. You agres to purchase frort us the goods and/or services described below according to the ferms of this Conlract. The term "Coniract” means this document and any separate

document which secures this Contract.
Deseription of Goods and/or Services Purchased HVAC - PLUMBING

Description of Other Collateral (Not househald gacas)

Cj Service Contract, With your purchase of Ihe Goods, you agrea to purchase a Service Contract to cover NY/A
. This Service Contract will be in effect for

Promise To Pay and Payment Terms. You promise to pay us the principal amountof¢ 10000.00 , plus interest on the unpai¢ balance at the rate of

16.990 % par year unti this Gontrect is paid in full. Interest wil hegin lo accrue on the date contract is assigned to a financial institution
. You agree {o pay this Contract according to the payment schedule shown in the Truff-in-tending Disclosure, You also agraa

to pay any addillonal amounts according to the terms of this Contract.
Down Payment, You also agres to pay, of apply to the Cash Price, on or before today’s dale, any cash, rebate and net trade-in value dascrbed In the Zemization of Amount Financed.

| You agree to make deferred payments as part of the cash down payment as reflected in your Payment Schedule.

CJ Prepayatant Penalty, You agras to pay a panalty of $ if you pay this Contract in fui within 12 months after the first scheduled payment.

 

RSSIHILAZ- NJ 2/28/2041

Home Impeovemsnt Ratall lnstailmant Contract - NJ
Bankers Systema™
Page 1 of 4

Wolters Kier Financlal Servicas @ 18b6, 201
Sarnes & Shaiter.

TREAGAG JR.08:82 An ET
FORA IS “
CT teLe
This Contractis assigned to Assignee (Identify):

Service Finance Co. LLC.

555 S Federal Hwy #200, Boca Raton FL 33432
This assignment is made under the terms of a separata agreement mada between the
Seller and Assignee.

ttemization of Amount Financed

Goods and/or Services Price (not Including sales tax) ¢ #5000.00
Service Contract, Paid to:

N/A * $ 0.00
1, Cash Price $ #5000.06
Manufacturer's Rebate $ 0.00
Cash Down Payment 8 5000.00
Deferred Dawn Payment 8 0.00
2, Subtotal $ 6000.00
Trade-In Allowance $ 0.00
Less: Amount Owing
to: N/A $ 0.00
3, Net Trade-In 0.06
4, Totel Down Payment (line 2 plus line 3} 5 5000.00
Sales tax: Cash Prica minus Trade-in equals Adjusted
Gash Pree
tor 5, Safes Tax 5
6, Unpaid Batance of Cash Price (line 1 minus line 4
plus line 5.) $ 40000.06
Fees Paid to Othars:

Pald to Public Officials - Filing Fees Only $ 0.00
Paid to Public Officials - Other than Filing Fees 5 0.00
Insurance Premiums" $ 0.00
To: Tite Services $ 0.00
To: Credit Investigation 8 0.00
To: Title Search $ 0.00
Te; N/A § 0.00
Te N/A $ 0.00
7, Subtotal (line 6 plus al Fees Paid to Others) $ 10000.00
8, Prapaid Finance Charges $ 0.00
Amount Financed (ine 7 rlnus line 8} $ 10600.00

We may retain or recelve a partion of this amount.

    
 

 

surance Disclosures
Credit Insurance. Credit fife, credit accident and health (disability), and any other
insurance coverage quoted below, are not required to obtain credit and we will net
provide them unless you sign and agree to pay the additional premium. If you want such
insurance, we wil obtain It for you (# you qualify for coverage), We are quallng below
ONLY the coverages you have chosen to purchase.

 

Your signature below means you want (only) the insurance coverage(s) quoted above, IF
“Nona” is checked, you have declinad the coverage we offered.

 

JAMES E THEISEN DOB

 

DOs

 

noB

 

DOB

Proparty Insurance. You must insure the Property securing this Contract. You may
purchase or provide the insurance through any insurance company reasonably
acceptable to us. The decuctibte amount of this insurance may not exceed

§ 0.00 . We do nol offer fiability insurance coverage for bodily injury
andor proparty damage.

Other Insurance Disclosures, Workmen's Compensation insurance Is applicable te
thls project. LJ Its carried by us. L] itis not carried by us.

__] We quatty as self insured.
Publi¢ Liabilly Insurance is applicable to this project and is carried by us.

Additional Terms of the Sales Agreement

Prapayment. You may prepay this Contract in {ul or in part at any time, Any partlal
prepayment will not excuse any later scheduled payments until you pay ia full,

You may obfain from us, of the Insurance company named in your policy (or certificate of
insurance), a refund of any uneamed insurance premiums.

General Terms. You agreed to purchase the Goods and services over me, We assume
in the disclosure of the Total Sale Price thal you will make all payments on iim. The
actuat amount you will pay may be more or less depending on your payment record.

We do not intend to charge or collect any interest or fee, that ls mora Khan state or federal
law allows; Ewe collect any amaual over whal the faw allows, we will apply the excess
firs{ to the principal balance, and we will refund any excess if you have paid this Contract
in full.

You understand and agree thaf some payments to thitd parties as a part of this Contract
may involve money retained by us or paid back te. us as commisstans or other

remuneration.
(f any provision of this Contract Is not enforceable, this Contract will remain enforceable

 

 

Gredilé Life
, wilhout such provision. If we agree with you to any exceptions to the promises or
LJ Single [_]soint None assurancas in this printed Contract, such agreement must be in willing and signed by us.
Premium ¢ Tone You agree that the law of New Jersey will govern this transacllon. Federal law may also
Insured apply.
Credit Disability ; Default, You wilt be in default on this Contract if any one of the following occurs (excep?
[_]sinpte [| éoint [5] None as prohibited by law):
Premium ¢ Tern A, Youfail to make a paymentin fulwhenItisdue,
Insured 2, You fail to perform any obligation that you have undertaken in this Contraat (which

 

includes doing something you have agreed not ta do).

 

Home improvement Retall installment Contract- AJ
Bankers systems™
Wolters Ktawar Financial Services © 1996, 2047

RSSHHILAZ-NJ 2/28/2011
Page 2 of 4

 

“arrees Em Fheigser.

ARPA pose nea or
and prenfum.refunds.of.any.insurance.and.service.contracts. purchased with this

3, You make any written statement or provide any financial information that is untrue
or mistaading at tie tine you gave Ii to us.

If you ara in defauit on a payment for 10 days, you agree to pay cur reasonable altomeys’
fees upon refarrai to an attorney who Is nota salarled employee of aurs, plus court costs
and expenses for retaking and storing repossessed goods which are authorized by law.

fan event of default occurs as lo any one of you, we may exercise our remedies against
any or all of you.

Remadies. #f you are In default on this Contract, we have al of fie remedies provided by
law, this Contract, any separate persanal properly security agreement, and any separate
real estala mortgage. These Include (sae the excaptions at fe end):

4. We can require you to pay us all the principal you owe us, including the amount that
would have been due in the future, plus interest.

2, We can, but nead nol, pay taxes, fees, expensas, or charges on the Property that
you fad to pay. We can then coflact such payenents from you immediately, and sweh
amount wif eam interest at the rate on this Contract.

3, We may require you &o make the Property available fo us at a place we designate
that is reasonably conventent to you and us.

4. We may immediately take possession of the Property f we do so lawfully, We may
then sell the Property and apply what we receive {o our reasonable expanses and
then toward your obligalians.

5. Except when prohibited by law, we may sie you for additional amounts if the
amount we get om a sale dees not pay all you owe us.

Paragraphs 3. and 4. do not apply to any land which may secure this Contract.

By choosing any one ar more of these rights, we do not glve up our right to later use
another one. If we decide to Ignore something you do {or fail to do} which is a defautt
uader this Contract, we may later treat thal type of event to be a default.

Ifwe take Property that secures payment of this Contract, we must send you notice of our
intention to sell It You agree thal 10 days notice mailed to you at your address on page 7
of this Contractis taasonable. (When tand Is the security, other nlas apply.)

ifthe U.S, Dapartment of Housing and Urban Development insures this Contract under ils
Title 1 Property Improvement Loan Regulations, our right to make you pay off the entre
Contract is subject ta the limitations of those regulations.

You agree thai, subject to your right fo recover such properly, we may fake possassion of
personal property lef in or on the Properly securing this Contract and taken inte
possession as provided above,

Indapendent Responslbillty. Each of you who signs this Contract Is Independently
sasponsthle to pay # and to keep the other promises. This is true even if.

4. Someone else has also signed it.

2, We release or do not (ry to collect from another whe is also responsible ta pay this
Contract.

4, We release any security of do nat try to fake back any Property.

4, We give up any other rights we may have.

5. We extend new credit or renew this Contract.

Warranties. We will provide any warranty information to you separately.

Walver. To the extent permiliad by law, you agree to give up your rights to require
us to do certain things, You do nat require us to:

4. demand payment of amounts due;

2, give notice that amounts dia have not been pald, or have not ban pald tn the
appropriate amount, time or manner; or,

4, give notice that we intand to make, or are making, this Contract immediately
due.

Security Agreement
Security. in this Gentract, the term “Property” refers to any colfaleral which sacures this
Contract, wheather by this or separate form, as indicated Immediately below.

You give us a security Interest In the goods {Goods} and In any other collateral
described above, pis all accessions to such Property.

Addilonat Security. You also assign to us and give us a security interest in proceeds

Convact.

Ownership and Dutles Toward Property. If you give us a security interes! or a real
estate morigage in Property, you agrea to the following:
Home improvenent Retall fnslallment Contract - NJ

i

Bankers Systems™
Wolters Kllever Fitancial Services © 1996, 2011

 

4, You wil! defend our interests in tha Property against claims made by anyone elsa.
You wit do whatever is necessary to keep our claint to the Property valid.

2, The security interast you are giving usin the Property comes ahead of tha claim of
any other creditor. You agree to sign any addional documents or provide us wit
any additional information wa may require to keep the priotity of our claim to the
Property. You will not do anything to change our interest in tha Property.

4, You will keep the Property in your passessicn, in good condition, and at the address
listad on page 1 of this Contract. You will use the Property forits intanded and
tawfuf purposes,

4. You will not ky to sell of transfer any rights In the Property.

6. You will pay al taxes, fees, and expenses on the Property when due,

§, You will notify us of any loss or damage to the Property. You will provide us
reasonable access to the Property for the purpose of inspection.

Insurance. IF you secure this Contract with Property, you must Insure the Property
against [oss and physical damage. You must arrange for the insurance company t name
us on tha policy as tha first to fe pald In the evert of a loss. If a benefit paid to us doas
not pay off this Contract, you remain responsible for the balance, You wil Keep tha
insurance in effect until you pay this Contract in full

If you do not keep these promises, we may buy insurance to protect our interest in the
Property. The Insurarice we buy may include covarages beyond thosa wa require you to
buy, and may be fom @ company you might not choose, The rate wa pay may be higher
than what you might have to pay I you buy il yourself. We will add the prarikum to the
amount you owe us, and you must pay interes! cn the amount at te contract rate, though
we may require you to pay us immediately.

Notices

ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS
SUBJECT TO ALL CLAIMS AND DEFENSES WHICH THE DEBTOR
COULD ASSERT AGAINST THE SELLER OF GOODS OR
SERVICES OBTAINED PURSUANT HERETO OR WITH THE
PROCEEDS HEREOF, RECOVERY HEREUNDER BY THE DEBTOR
SHALL NOT EXCEED AMOUNTS PAID BY THE DEBTOR
HEREUNDER.

[This area intentionally left blank ]

RSSIMILAZ-NE 228/204 4
Page 3 of ¢

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TEBPEER ASP Re? A ET
NOTICE TO OWNER
Do not sign this contract in blank.
You are entitled fo a copy of the contract at the time you sign,
Keep it to protect your legal rights.

Do not sign any completion cartificata or agraement stating that
you are satlsfled with the entire project before this project is
complete. Home repair contractors are prohibited by law from
requesting or accepting a certificate of compleflon signed by the
owner prior to the actual complation of the work to be performed
under the home repair contract.

BY SIGNING BELOW BUYER AGREES TO THE TERMS ON ALL

PAGES OF THIS CONTRACT AND ACKNOWLEDGES RECEIPT OF
A COPY OF THIS CONTRACT,

Buver

Games E Shetsen

7/29/2016 10;09;32 AM ET
770.215.866.137

JAMES E THEISEN Date

 

Date

 

Date

 

Date

Print buyer’s address below signature If other than shown on page 1.

Seller

Tyria Forward

8/9/2016 on 4:54 AM ET
216. 176,85.242

Horizon Services Inc Date

Our License, Refafenca, or Certificate Number:

DISBURSEMENT DATE: (This data is for Tile 1 HUD
insurance purposes and Seller may fil in this date after tle Buyer signs it fo reftect
the actual disbursement date, ft may appear only on tha original form.)

 

 

Home a eyeeme™ Retalt instalment Contract - Nd
Bankers
Welters Rinwer Financial Servicas © #906, 2014

RSSIHILAZ A 2/26/2011 1
Page 4 of 4
ALLONGE

This Allonge is attached to and made a part of the Retail Installment Contract ("RIC"),
dated as of 07/29/2016

made by individual(s) JAMES E THEISEN

residing at 903 NORTHWOOD AVE, CHERRY HILL, NJ 08002

in the original principal amount of $ $10,000.00

The undersigned hereby assigns, transfers and endorses the RIC to the order of SERVICE
FINANCE COMPANY, LLC (“Buyer”) its successors and/or assigns, without recourse.

Horizon Services inc

By: Jypta Forward.

89/2016 11:14:36 AM ET
Name: 216.178.8524?
ALLONGE

This Allonge is attached to and made a part of the Retail Installment
Contract("RIC"), dated as of 07/29/16 made by individual(s)

JAMES E THEISEN residing at 903 NORTHWOOD AVE,
CHERRY HILL NJ 08002 in the original principal amount of
$10,000.00.

The undersigned hereby assigns, transfers and endorses the RIC to
the order of OVATION SALES FINANCE TRUST (“Buyer”) its
successors and/or assigns, without recourse.

SERVICE FINANCE COMPANY, LLC

Zo.

Name: Ian M. Berch

08/11/16

By:

 

Title: Chief Operations Officer

 
_ 2016086112 BK-10513 PG-658 11/2/2016 CC NJ Camden

UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS ..

 

A. NAME & PHONE GF CONTACT AT FILER (optional}
- Phone: (800) 331-3282 Fax:.(818) 662-4141

 

8. E-MAIL CONTACT AT FILER (optional)
CLS-CTLS_Glendale_Customer_Service@weoiterskluwer.com

 

C, SEND ACKNOWLEDGMENT TO: (Name and Address} 37724 - OVATION SALES

CT Lien Soluti
[Cities 56748922 |
Giendale, CA 94209-9074 NJNJ

FIXTURE
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File with: Camden, NJ

 

 

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CAMDEN COUNTY CLERK'S DFFICE

. UCC ANEND-OR BDBK 10542 Pg 907
RECORDED 12/13/2014 i5211¢41
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CRT #3 183s6703 RECO BY: ANt'
RECORDING FEES $275.00 ane
MARGINAL HOTATION

THE ABOVE SPACE IS FOR FILING GFFICE USE ONLY

 

Ta. INITIAL FINANCING STATEMENT FILE NUMBER

 

. BY

This FINANCING STATEMENT AMENDMENT Is to be filed (for record]

(of recorded) in the REAL ESTATE RECORDS

Filer: atach Atretdrrent Adoer.dum (Form UCG3A3) and p’ovide Depior’s name Is item 43
mamaria ities re

aE
2, { TERMINATION: Effectivenass of the Financing Staterrent (dantifiad above is terminated with respect lo tha sacunty interest(s) of Secured Parly authorizing this Tevnination

Statement

 

a m
3. Vi ASSIGNMENT {fut o-gartial): Provide narra of Assignea in item 7a or 7b, and address of Assignee in tem 7c and name of Assignor in item 9

For partial assignrent, complete itera 7 and 9 and alse indicale affected collateral in tem 8

 

4, ry} CONTINUATION: Effectiveness of the Fnancing Statement identitied above with respect 'o the security interest(s) af Secured Party authorizing ths Continuation Statement is

continued for the adoltional period provided by applicable law

ae
§. DC PARTY INFORMATION CHANGE:
Chack one of these two boxes:

AND Check one of these three boxes to:
CHANGE name andior address: Complete =. ADD name: Complete item CELETE name: Give reconi rame

This Change affects ‘a Debtor or [XJ Soawed Party of record Piitem 6a or 6b; ard item 7a or 7b ara item Te | y 7a or 7b, and bem 7c = fo be celeted in fam Ga or 6b
eal an roa at a

ba, ORGANIZATIONS NAME 6 i

OVATION SALES FINANCE, LLC _

§. CURRENT RECORD INEGRMATION: Complete for Party Inforration Change - provide only one name (6a or 6b)

 

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6b. INDIVIDUALS SURNAME ~~. : FIRST PERSONAL NAME ADJIIONAL NAME/SVINITIALS) SU==IX

 

 

 

7 CHANGED OR ADDED INFORMATION: Compete tec Assignstert or Pary Inforsiatar Change - provide only 950 rame (79-1 75} {use exact fal rame: do totam, modty, or athrevlete ary pan of te Dattors rare)

7a, ORGANIZATION’S RANE

OVATION SALES FINANCE TRUST

 

7b. INDIVIQUAL'S SURNAME

 

TNDIVIGUAL'S FIRST PERSONAL NAME

 

 

 

 

 

 

 

 

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7é. MAILING ADDRESS cir STATE | POSEAL CODE 7 COUNTRY
805 LAS CIMAS PKWY AUSTIN TX T8746 | usa
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cd
8. |! COLLATERAL CHANGE: Also check ong ofthese ‘our toxes: | FADD cotateral —! DELETE coilateral © |_I RESTATE covered callaterat_ {_] ASSIGN cofiateral

indicate collateral:

 

9, NAME of SECURED PARTY of RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (82 or 95) (nante of Assignor, if this is an Assignment)
if this ig an Amendment auinorized by a DEBTOR. check here {] and provide name of authorizing Debior

9a. ORGANIZATION’S NAME

OVATION SALES FINANCE, LLC

 

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RAE ENE
a

UCC FINANCING STATEMENT AMENDMENT ADDENDUM
FOLLOW INSTRUCTIONS

73. INITIAL FINANCING STATEMENT FILE NUMBER: Same as item 1 on Amendment form
2016086112 BK-10513 PG-658 11/2/2016 CC NJ Camden

42. NAME OF PARTY AUTHORIZING THiS AMENDMENT: Same as itam $ on Amendment form
‘2a, ORGANIZATION’S NAME

OVATION SALES FINANCE, LLC

 

 

 

OR 425, INDIVIDUAL'S SURNANE

 

FIRST PERSONAL NAKE

 

AGDIIGNAG NAMC(SHINITEALESE SUFFIX

 

 

THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

13. Name of DEBTOR on related financing glatement (Name of a current Deblor of record required for indexing pusposes only in Some fling offices - see Instruction tien 13}: Provide only’
one Debtor name (134 of 7130) (use exact, full name: de nat omit. modify, or abbreviate any pan of the Debtor's name}: see Instruction; if name does not fi

 

 

 

 

 

 

 

 

jaa. DAGANIZATION'S NAME
OR (355 INDIVINGAL'S SURNAME FIRST PERSONAL NAME. ADCIONAL NAME(S FIMITIALIS} SUFFIX
THEISEN JAMES
74. ADDITIONAL SPACE FOR ITEM § (Cottateral}:
Debtor Name and Address:

THEISEN, JAMES - 903 NORTHWOOD AVE , CHERRY HILL, NJ 08002

Secured Party Name and Address:
OVATION SALES FINANCE TRUST - 805 LAS CIMAS PKWY , AUSTIN, TX 78746

 

15. This FINANCING STATEMENT AMENDMENT: 17. Description af real estate:

{| covers timber tobe cul J] coversas-exicacted cofateral [x1 is filed as a fixture fling} DARCE} # 09 00092-01-00013

16. Natta and addrass of a RECORD OWNER of real estate descrited in ter 17
(if Debtor does not have a tegord interest]:

THEISEN
903 NORTHWOOD AVE
CHERRY HILL NJ 08002

Sale Date: 04/29/15
Book: 10271
Paae: 1825

 
Debtor: THEISEN, JAMES

—
i Exhibit for Real Estate
|
17. Description of real estate: Continued

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BLOCK 92.01!

LOT 13
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For Loan. @§§8655; Loan Date To Use Curr Date...

: Account History Summary

Page 1

 

 

 

 

 

Contact Number: 793655 Group: NR OSF JAMES E THEISEN
Loan Number: a9@3655 ‘Glass 1: Unsec Std - 1699 BD 903 NORTHWOOD AVE
Name: THEISEN JAMES E Class 2: Aug 2016 GHERRY HILL NJ 08602
Status: ACTIVE Officer: SFC NLS Webservice
Dealer: 71700 Commitment:
Horizon Services Inc
Payoff Balance as of 12/30/2019 = $15,848.16
Effective Transaction Principai
Date Amount ___Principal_ interest Fees _—sLate Charges Others Balance
08/11/2016 40,000.00 ~~~» 10,000.00 SS : 10,000.00
40/19/2016 92.00 92.060 10,000.00
Totals 10,000.00 0.00 0.00 6.00 92.00
Printed 12/30/2019 af 03:12 PM MSS@QL:NLS LoanHistorySummary.di Revised: 04/25/2019

 

 
 

Limited Power of Attorney

 

Ovation Sales Finance Trust ("Ovation"), of 805 Las Cimas Parkway, Suite 350, Austin, TX 78746, hereby
appoints Service Finance Company, LLC ("Servicer"), of 555 South Federal Highway, Suite 200, Boca Raton, FL 33432,
as Attorney-in-Fact, by and through any officer appointed by the Board of Directors of Servicer, to do all things
necessary to preserve the interests of Ovation in the bankrupt estate of any Obligor of a retall installment contract
purchased by Ovation from Servicer, including, but not limited to: the preparation and filing of Proof of Claim and
any other documents required by the Bankruptcy Court having jurisdiction over the bankrupt estate all pursuant to
and governed by the terms and conditions of that certain Servicing Agreement by and Between Ovation and Servicer
dated as of July 29, 2016 as amended, modified, supplemented or restated from time to time: provided, however,
that Servicer shall not be authorized to accept payment from the bankrupt estate with respect to any claim filed on
behalf of Gvation without the express written consent of Qvation.

Ovation grants Servicer full authority to act in any reasonable and necessary manner for the purpose of
exercising the sbove-stated powers. Ovation further ratifies all acts lawfully performed by Servicer in exercising
these powers.

This Limited Power of Attorney is being issued in connection with Servicer's responsibilities to service
certain Retail Installment Contacts purchased by Ovation pursuant to that certain Master Loan Purchase Agreement
by and between Ovation and Service Finance Company, LLC dated as of July 29, 2016 as amended, modified,
supplemented or restated from time to time.

IN WITNESS THEREOF, the undersigned has executed this Limited Power of Attorney as of November 1,

 

2016,

{NO CORPORATE SEAL) Ovation Sales Finance Trust

State of Texas } By: Nh
} Name: Michael Rovner

County of ) Title: Authorized Officer

On this / day of Nitonkeoers, before me, the undersigned, a Notary Public in and for said County and

State, personally appeared adel, fet as Ldnage- of Ovation Sates Finance Trust, Delaware
Statutory Trust. He/she is personally knows’ to me or has produced as

identification, and he/she acknowledged to me that Ovation Sales Finance Trust has the authority to execute this

Limited Power of Attorney.
SYN Mag! Signature: Gtk Vojwla

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